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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


                                                    )
AMERICAN LIBRARY ASSOCIATION                        )
et al.,                                             )
                                                    )
              Plaintiffs,                           )
                                                    ) Civil Case No. 25-1050 (RJL)
       V.                                           )
                                                    )
KEITH SONDERLING, Acting Director,                  )
Institute of Museum and Library Services            )
et al.,                                             )
                                                    )
              Defendants.                           )
_______                             __              )

                                      f:tv\,,
                               MEMORANDUM OPINION
                            June  '1, 2025 [Dkt. #13; Dkt. #38]

       This case is about President Trump's efforts to dismantle the Institute of Museum

and Library Services ("IMLS"), "the only federal entity dedicated to funding libraries."

Compl. [Dkt. #1] at 1.       President Trump has, via Executive Order, deemed IMLS

"unnecessary" and ordered that it be reduced to its "minimum presence and function

required by law[.]" Exec. Order 14238, 90 Fed. Reg. 13043 (Mar. 20, 2025) (the "Order").

His Administration quickly followed through on the Order's directives; they installed new

leadership, terminated grants en masse, and placed the majority of IMLS staff on

administrative leave.   The American Library Association ("ALA") and the American

Federation of State, County, and Municipal Employees, AFL-CIO ("AFSCME") (together,

"plaintiffs") sued to enjoin defendants' gutting of IMLS. See generally Compl.

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       Now before the Court is plaintiffs' motion for a preliminary injunction. Pls.' Mot.

for Preliminary Injunction ("Pls.' PI Mot.") [Dkt. #13]. While the Court laments the

Executive Branch's efforts to cut off this lifeline for libraries and museums, plaintiffs have

not established a substantial likelihood of success on the merits. The Court must therefore

DENY the motion for a preliminary injunction.

I.     BACKGROUND

       A.     Statutory Background

       In 1996, Congress passed the Museum and Library Services Act ("MLSA"), which

established IMLS as an independent agency. See 20 U.S.C. § 9101 et seq. IMLS has

statutory goals, including "facilitat[ing] access to resources in all types of libraries for the

purpose of cultivating an educated and informed citizenry," id. § 9121(3), and

"encourag[ing] and support[ing] museums in carrying out their educational role, as core

providers of learning and in conjunction with schools, families, and communities," id. §

9171(1).

       IMLS is led by a Director, appointed by the President and confirmed by the Senate,

who must have "special competence with regard to library and information services" or

"with regard to museum services." Id. § 9103(a). The Director has various responsibilities,

including "primary responsibility for the development and implementation of policy to

ensure the availability of museum, library, and information services adequate to meet the

essential information, education, research, economic, cultural, and civic needs of the

people of the United States." Id. § 9103(c). IMLS is also required to have a 23-member

Board. Id. § 9105a.

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       The MLSA mandates that IMLS take various actions. For example, IMLS "shall

regularly support and conduct, as appropriate, policy research, data collection, analysis and

modeling, evaluation, and dissemination ofinformation to extend and improve the Nation's

museum, library, and information services." Id. § 9108(a). Congress outlined in detail the

required objectives for this policy research and data collection. See id. § 9108(b). The

MLSA authorizes the Director to enter into "grants, contracts, cooperative agreements, and

other arrangements" to achieve those objectives. Id. § 9108(c).

       IMLS is also required to issue certain grants. The MLSA mandates that IMLS

award grants from minimum allotments to each State. Id. § 9131(b). IMLS must also

- spend a certain percentage of its appropriations on "grants to Indian tribes and to

organizations that primarily serve and represent Native Hawaiians," id. §§ 913 l(a)(l )(A) ,

9161, and on "national leadership grants" designed "to enhance the quality of library

services nationwide and to provide coordination between libraries and museums," id. §§

913 l(a)(l )(B), 9162.   IMLS must also establish various grant programs to support.

museums dedicated to African American history and culture. Id. § 8 0r-5.

       Congress appropriated $294,8 00,000 to IMLS through September 2025 for carrying

 out the MLSA's mandates. Further Consolidated Appropriations Act of 2024, Pub. L. No.

 118 -47, 138 Stat. 460 (2024).

        B.     Factual Bad ground

        On March 14, 2025, President Trump issued the Order that led to this case. See

 generally Order. The Order describes IMLS as "unnecessary" and directs that it "shall

 reduce the perfonnance of [its] statutory functions and associated personnel to the

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minimum presence and function required by law." Id. § 2(a). The Order also instructs the

Director of the Office of Management and Budget to "reject funding requests for" IMLS

"to the extent they are inconsistent with this order." Id. § 2(c).

       On March 20, 2025, President Trump installed Deputy Secretary of Labor Keith

Sonderling as Acting Director of IMLS. Comp1.          ,r 37. That same day, officials from the
                                                            1



Department of Government Efficiency set up offices within IMLS and obtained access to

IMLS's computer systems. Id. ,r 40. The vast majority of IMLS staff were put on

administrative leave. Id. ,r,r 41-42. Defendants left in place "three statutorily mandated

employees, a group of five lawyers and an HR specialist, the CFO, and exactly one program

officer each for libraries-and museums," but plaintiffs allege that "[t]here is no way for a

single program officer for libraries to manage the work of dozens of employees placed on

administrative leave." Id.   ,r 42. Sonderling also fired all members of the Board. Id. ,r 47.
       On April 1, defendants started informing State grantees that their IMLS grants were

terminated, effective immediately. Id.      ,r 44. Defendants have since continued to cancel
grants and "contracts for work conducting research and collecting data from libraries across

the country." Id.   ,r 48. By April 10, defendants were "in the process of ending all or most
of the remaining grants," Pl.'s PI Mot. at 1, and by April 28, they had cancelled all of

plaintiff ALA's grants, Deel. of Lisa Varga [Dkt. #40-1] ,r 3.




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 Plaintiffs allege that Sonderling "fails to meet the requirements laid down by Congress for [IMLS's]
Director." Compl. ,i 37 (citing 20 U.S.C. § 9103(a)(3)).

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        C.     Procedural Background

        Plaintiffs filed suit in this Court on April 7, 2025 and, a few days later, moved for a

preliminary injunction. See generally Compl.; Pls.' PI Mot. Plaintiffs brought claims

under the Administrative Procedure Act ("APA"), the Take Care Clause, the First

Amendment, the separation of powers, and the ultra vires doctrine, alleging that

defendants' actions to dismantle IMLS violate the agency's statutory mandates. See

generally Compl.

        The parties fully briefed the preliminary injunction motion and the Court held a

hearing on April 30, 2025. Defs.' Opp'n to Pls.' PI Mot. ("Defs.' Opp'n") [Dkt. #21]; Pls.'

Reply Mem. in Supp: of PI Mot. ("Pls.' Reply") [Dkt. #34]; Min. Entry (Apr. 30, 2025).

During that hearing, and on plaintiffs' motion, the Court converted the preliminary

injunction motion into a motion for a temporary restraining order ("TRO"). See Min. Entry

(Apr. 30, 2025). The Court "issue[d] a narrow TRO preserving the status quo as of' May

1, 2025, and ordered the parties to submit a proposed supplemental briefing schedule for

the preliminary injunction. Mem. Order ("TRO Order") [Dkt. #36]. The parties filed

supplemental materials, but defendants also asked the Court to reconsider the TRO Order.

See Defs.' Mot. for Reconsideration of the May 1, 2025 Mem. Order & Notice of Supp.

Authority ("Defs.' Mot. for Reconsideration") [Dkt. #38]; Pls.' Resp. in Opp'n to Defs.'

Mot. to Reconsider [Dkt. #39]; Pls.' Supplemental Br. in Supp. of Mot. for PI [Dkt. #40];

Defs.' Reply in Supp. of Mot. for Reconsideration of the May 1, 2025 Mem. Order [Dkt.

#42].



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       Thus pending before the Court are two separate but substantively overlapping

motions: plaintiffs' motion for a preliminary injunction and defendants' motion for

reconsideration of the TRO. The TRO expired on May 29,2025,so the Court will deny as

moot defendants' motion for reconsideration. Nevertheless,since the parties' briefing on

the motion for reconsideration offers helpful insights into recent developments in the case

law,the Court will consider that briefing in ruling on the preliminary injunction motion.

II.    LEGAL STANDARD

       A preliminary injunction is "an extraordinary remedy that may only be awarded

upon a clear showing that the plaintiff is entitled to such relief." Winter v. NRDC, 555 U.S.

7, 22 (2008). "A plaintiff seeking a preliminary injunction must establish [I] that he is­

likely to succeed on the merits,[2] that he is likely to suffer irreparable harm in the absence

of preliminary relief, [3] that the balance of equities tips in his favor, and [4] that an

injunction is in the public interest." Huisha-Huisha v. Mayorkas, 27 F.4th 718,727 (D.C.

Cir. 2022) (quoting Winter, 555 U.S. at 20). The last two factors merge when the

Government is the opposing party. Nken v. Holder, 556 U.S. 418,435 (2009).

III.   ANALYSIS

       Both the facts and the law in this case are in flux. Plaintiffs have filed multiple

motions to supplement the record as they learned more about the impact of defendants'

efforts to dismantle IMLS. See Pls.' Mot. for Leave to Suppl. the R. [Dkt. #20]; Pls.'

Second Mot. for Leave to Suppl. the R. [Dkt. #33]. The parties have also informed the

Court about recent updates in case law relevant to plaintiffs' motion for a preliminary

injunction. See Defs.' Mot. for Reconsideration; Defs.' Notice of Suppl. Authority [Dkt.

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#41]; Defs.' Objection to an Extension of the Court's TRO [Dkt. #44]; Pls.' Mot. for Leave

to Respond to Defs.' Objection to an Extension of the Court's TRO [Dkt. #45].

Specifically, the Supreme Court and some Judges on our Circuit Court have, in the last few

weeks, indicated that cases seeking reinstatement of federal grants belong not in district

court but in the Court of Federal Claims. These cases are still pending, but they create a

substantial question as to whether plaintiffs' case properly belongs in the Court of Federal

Claims. I therefore must deny the motion for a preliminary injunction.2

        A.      Overview

        A preliminary injunction is an extraordinary remedy. Winter, 555 U.S. at 22. A

plaintiff must make a clear showing not just of a likelihood of success on the merits, but of

"a substantial likelihood of success on the merits." Elec. Privacy Info. Ctr. v. Dep 't of

Corrections, 928 F.3d 95, 104 (D.C. Cir. 2019) (emphasis added) (quoting Food & Water

Watch, Inc. v. Vi/sack, 808 F.3d 905, 913 (D.C. Cir. 2015)). This includes success in

establishing jurisdiction. See id. ("[T]he 'merits' on which plaintiff must show a likelihood

of success encompass not only substantive theories but also establishment of jurisdiction."

(alteration in original) (quoting Food & Water Watch, 808 F.3d at 913)).

        The Court finds that plaintiffs may not be able to show that this Court has

jurisdiction because the Tucker Act "confer[ s] exclusive jurisdiction over breach of

contract claims against the United States seeking more than $10,000 in damages on the




2 If a plaintiff cannot establish a substantial likelihood of success on the merits, the Court need not consider
the remaining factors of the preliminary injunction test. See Apotex, Inc. v. FDA, 449 F.3d 1249, 1253-54
(D.C. Cir. 2006); Ark. Dairy Coop. Ass 'n v. Dep 't of Agric., 573 F.3d 815, 832 (D.C. Cir. 2009).

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Court of Federal Claims." See Hammer v. United States, 989 F.3d 1, 2 (D.C. Cir. 2021);

28 U.S.C. §§ 1346(a), 1491(a); see also Greenhill v. Spellings, 482 F.3d 569, 572 (D.C.

Cir. 2007) ("Although the Little Tucker Act gives district courts jurisdiction over certain

similar claims against the federal government, the jurisdiction of the Court of Federal

Claims is exclusive when a plaintiff seeks more than $10,000 in damages."). 3

        Defendants argue that the Tucker Act applies to this case because "[g]rant

terminations are the cornerstone of Plaintiffs' claims," and these grants are essentially

contracts with the federal Government. See Defs.' Opp'n at 17-23. Plaintiffs resist this

framing, arguing that they "do not assert any contract claims against the government" and

that, instead, their claims "rely on ·rights enshrined in the -Constitution and provided by

statutes." Pls.' Reply at 7-9.

        Application of the Tucker Act depends on whether the case is "at its essence"

contractual. Crowley Gov't Servs., Inc. v. Gen. Servs. Admin., 38 F.4th 1099, 1106 (D.C.

Cir. 2022) (quoting Megapulse, Inc. v. Lewis, 672 F.2d 959, 968 (D.C. Cir. 1982)).

"Whether a claim is 'at its essence' contractual for the Tucker Act 'depends both [1] on the

source of the rights upon which the plaintiff bases its claims, and [2] upon the type of relief

sought (or appropriate)."' Id. (quoting Megapulse, 672 F.2d at 968).



3
 The APA's waiver of sovereign immunity does not apply "if any other statute that grants consent to suit
expressly or impliedly forbids the relief which is sought." Crowley Gov 't Servs., Inc. v. Gen. Servs. Admin.,
38 F.4th 1099, 1105-06 (D.C. Cir. 2022) (quoting Perry Cap. LLC v. Mnuchin, 864 F.3d 591, 618 (D.C.
Cir. 2017)). Since the Tucker Act gives the Court of Federal Claims exclusive jurisdiction over contract
claims against the federal Government seeking more than $10,000 in damages, the Tucker Act also
impliedly forbids those contract claims from being brought in district courts under the APA's sovereign
immunity waiver. See id. at 1106. Accordingly, if the Tucker Act applies to plaintiffs' claims, this Court
has no jurisdiction.

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      This is a close question in this case, made even closer by a recent Supreme Court

per curiam decision and our Circuit's treatment of similar issues in a collection of cases

involving the U.S. Agency for Global Media ("USAGM"). See Widakuswara v. Lake, No.

25-5144 (D.C. Cir. Apr. 24, 2025); Abramowitz v. Lake, No. 25-5145 (D.C. Cir. Apr. 24,

2025); Middle E. Broad. Networks, Inc. v. United States, No. 25-5150 (D.C. Cir. Apr.25,

2025); Radio Free Asia v. United States, No. 25-5151 (D.C. Cir. Apr.25, 2025) (together,

the "USAGM cases"). These cases raise significant uncertainty about plaintiffs' ability to

show that this case is not "at its essence" contractual. See Crowley, 38 F.4th at 1106.

       To parse through this complicated issue, I will first discuss the recent cases touching

on this t0pic before walking through each prong of the Tucker Act test.

       B.     Recent Cases Addressing the Tucker Act

       This case is not, to say the least, the only recent case involving Executive action to

dismantle an agency by cancelling grants. Some of those cases are currently up on appeal,

where our Circuit and the Supreme Court are grappling with whether the Tucker Act

divests district courts of jurisdiction to hear these types of cases. Unfortunately, this means

that the precise metes and bounds of the Tucker Act-which were already somewhat

illusory-are currently shifting. See Woonasquatucket River Watershed Council. v. Dep 't

ofAgric., 2025 U.S.Dist.LEXIS 71378, at *34 (D.R.I.Apr.15, 2025) ("The 'jurisdictional

boundary' between the Tucker Act and the APA is well-traversed by litigants seeking relief

against the federal government. Still the boundary's precise contours remain elusive."

(citation omitted)); see also Bublitz v. Brownlee, 309 F.Supp. 2d 1, 6 (D.D.C.2004) ("The

bright-line rule [for the Tucker Act], however, turns out to be rather dim ....").

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       On April 4, 2025,the Supreme Court issued a per curiam decision casting doubt on

district courts' jurisdiction to hear cases involving grant terminations. See generally Dep 't

ofEduc. v. California, 145 S.Ct. 966 (Apr. 4, 2025) (per curiam). In that case,the district

court had temporarily enjoined the Government's termination of federal education-related

grants, finding that the plaintiffs had established a substantial likelihood of success in

proving that the grant terminations violated the APA. See generally California v. Dep 't of

Educ., 2025 U.S. Dist. LEXIS 46420 (D. Mass. Mar. 10, 2025), administratively stayed

pending appeal, 145 S.Ct. 966. The Government asked the Supreme Court to vacate the

district court's TRO and issue an immediate administrative stay. Dep 't of Educ. v.

California, 145 S.Ct. at 968. Even though TROs are generally not appealable,-the Supreme

Court took on the matter and stayed the TRO. Id.

       The Supreme Court found that "the Government is likely to succeed in showing the

District Court lacked jurisdiction to order the payment of money under the APA" because

"[t]he APA's limited waiver of immunity does not extend to orders 'to enforce a

contractual obligation to pay money' along the lines of what the District Court [had]

ordered[.]" Id. at 968 (quoting Great-West Life & Annuity Ins. Co. v. Knudson, 534 U.S.

204,212 (2002)); but see Bowen v. Massachusetts, 487 U.S. 879, 893 (1988) (finding that

the APA's sovereign immunity provision did not bar judicial review of a suit seeking to

enforce Medicaid's reimbursement provisions because it "is not a suit seeking money in

compensation for the damage sustained by the failure of the Federal Government to pay as

mandated; rather it is a suit seeking to enforce the statutory mandate itself,which happens

to be one for the payment of money"). "Instead, the Tucker Act grants the Court of Federal

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Claims jurisdiction over suits based on 'any express or implied contract with the United

States."' Dep't of Educ. v. California, 145 S.Ct. at 968 (quoting 28 U.S.C. § 1491(a)(l )).

The Supreme Court thus stayed the district court's TRO pending the Government's appeal.

Id. at 969.

       This per curiam decision in turn informed our Circuit Court panel's decision in the

USAGM cases, which involve the Executive Branch's actions to dismantle USAGM by

cancelling grants. See generally Widakuswara v. Lake, 2025 U.S. App. LEXIS 11036

(D.C. Cir. May 3, 2025) ("USAGM Panel Decision") (per curiam), pets. for

reconsideration en bane granted in part and denied in part, 2025 U.S. App. LEXIS 12559

(D.C. Cir. May 22, 2025), 2025 U.S. App. LEXIS 13040 (D.C. Cir. May 28, 2025).

USAGM is an agency which "oversees six federally funded broadcast networks." Id. at

*5. Some of those networks are operated by Government employees and contractors, while

other, private networks are funded by Congressional appropriations.         Id.   USAGM

disburses the Congressional funding to the private networks through grants. Id. at *5-6.

       President Trump issued an Executive Order directing USAGM be reduced to the

minimum level of operations required by statute. Id. at *6. USAGM then placed over

1,000 employees on administrative leave and terminated the private networks' grant

agreements. Id. USAGM employees, contractors, and grantees sued to enjoin this conduct,

bringing claims under the APA, various provisions of the Constitution, and the separation

of powers. Id. The district court issued "a preliminary injunction requiring USAGM to

(1) restore its employees and contractors to their pre-March 14 status, (2) restore its FY

2025 grants with [the private networks], and (3) restore [Voice of America] as 'a

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consistently reliable and authoritative sources of news."' Id. (quoting Widakuswara v.

Lake, 2025 U.S. Dist. LEXIS 76500, at *18 (D.D.C. Apr. 22, 2025)).

       The Government appealed and asked our Circuit to stay the first two provisions of

the preliminary injunction pending their appeal. Id. A three-judge panel granted a stay,

finding that "[t]he government is likely to succeed on the merits because the district court

likely lacked subject-matter jurisdiction to enjoin USAGM's personnel actions and to

compel the agency to restore [the private networks'] FY 2025 grants."            Id. at *7.

Specifically, the panel found that the Tucker Act likely applied and vested jurisdiction on

the Court of Federal Claims. Id. at *9-14.

       In reaching that conclusion, the panel considered whether the plaintiffs' claims were

"at [their] essence" contractual under the Crowley test and looked to the Supreme Court's

decision in Department of Education v. California for guidance. Id. at *9-10 The panel

reasoned that "Congress [had] created a contractual scheme for allocating funds to the

grantees": Statutes authorize USAGM to fund the private networks through "grants and

cooperative agreements," and USAGM then reaches grant agreements with the private

networks. Id. at *10-11. Those agreements "constitute government contracts for Tucker

Act purposes." Id. at * l 1. Since the dispute between the parties arose when USAGM

terminated those agreements, the source of the plaintiffs' rights were contracts, thus

supporting application of the Tucker Act. See id.

       The panel also found that the relief ordered by the district court included "specific

performance of the grant agreements-a quintessentially contractual remedy." See id.

This was true regardless of whether the district court phrased the relief "as a declaration

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that the agreements remain in force" or as "an order to pay the money committed by those

agreements." Id. Thus the panel found that the plaintiffs' claims were "squarely contract

claims under the Tucker Act." Id. at *13.

      Here, it is worth noting that the panel was not persuaded by the plaintiffs' arguments

that they had not brought contract claims and had instead brought claims under the AP A

and the Constitution. See id. at*13-14. These claims still belonged in the Court of Federal

Claims because they "simply flow[ed] from allegations that the Executive Branch has

failed to abide by governing congressional statutes, which does not suffice to trigger the

distinctively strong presumptions favoring judicial review of constitutional claims." Id.

      -The panel's decision was not the last word, though. The plaintiffs quickly filed

petitions for rehearing en bane. Widakuswara Plaintiffs-Appellees' Pet.for Rehearing En

Banc, Nos. 25-5144, 25-5145 (D.C. Cir. May 5, 2025); Emergency Pet.for Rehearing En

Banc, Nos. 25-5150, 25-5151 (D.C. Cir. May 5, 2025). Our Circuit Court denied in part

and granted in part the petitions. See Widakuswara v. Lake, 2025 U.S. App. LEXIS 12559

(D.C. Cir. May 22, 2025); Widakuswara v. Lake, 2025 U.S. App. LEXIS 13040 (D.C. Cir.

May 28, 2025). Relevant here is our Circuit's decision to reconsider the portion of the

panel's decision which had found that the district court likely lacked jurisdiction to order

reinstatement of grants. See Widakuswara v. Lake, 2025 U.S. App. LEXIS 13040, at *3-

4. Thus our Circuit Court reversed the stay ordered by the panel, finding that "the

government has not made the requisite 'strong showing' of a likelihood of success on the

merits of its appeals in these cases." Id. at *4.



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        Although our Circuit expressed apprehension toward the panel's conclusion that the

USAGM cases belong in the Court of Federal Claims, it did note that reversing the panel's

stay "of course does not constrain the ability of the panel that hears the government's

appeals to reach any conclusion following full merits briefing and argument."                           Id.

Additionally, Judge Katsas issued a partial dissent from the order, reasserting his belief

that "[t]he district court lacked jurisdiction to order continued funding for the affiliated

networks." Id. at *8 (Katsas, J., dissenting in part). Judge Katsas cited the Supreme Court's

decision in Department of Education v. California to support his conclusion that orders

which mandate specific performance of contracts with the federal Government "fall within

the exclusive jurisdiction of the Court of Federal Claims." See id. at *8-9.

        To date, our Circuit Court has not yet reheard the USAGM cases en bane. As such,

it is undecided whether those cases belong in district court or in the Court of Federal

Claims. Still, the Supreme Court's per curiam decision in Department of Education v.

California and the panel's reasoning in the USAGM decision are infonnative and

persuasive. 4 Together, they raise serious doubts about whether this case properly belongs


4 The Court here notes that since the Supreme Court issued the Department ofEducation v. California per
curiam decision, lower courts' interpretation of the breadth and applicability of that decision have varied
widely. See, e.g., Colorado ex rel. Beshear v. HHS, 2025 U.S. Dist. LEXIS 93872, at *28 (D.R.I. May 16,
2025) ("The Court recognizes the tension between Bowen and California. But the Court is not positioned
to disregard Bowen and its progeny, even if it appears that it is now in tension with California."); State v.
Trump, 2025 U.S. Dist. LEXIS 86024, at *20-21 (D.R.I.May 6, 2025) ("California's precedential value is
limited, considering that the Supreme Court issued the decision on its emergency docket ...Further, the
California stay order does not displace governing law that guides the Court's approach to discerning
whether the States' claims are essentially contract claims in order to direct jurisdiction to the Court of
Claims."); Sols. In Hometown Connections v. Noem, 2025 U.S. Dist.LEXIS 70104, at *24 (D.Md.Apr.
14, 2025) (finding, post-California, that "Plaintiffs have not demonstrated a substantial likelihood of
success upon the merits of their APA claims, because these claims are in essence contract claims against
the United States for which the United States Court of Federal Claims has exclusive jurisdiction"); San
Francisco Unified Sch. Dist. v. AmeriCorps, 2025 U.S. Dist.LEXIS 77652, at *31 n.4 (N.D.Cal.Apr.23,

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in the Court of Federal Claims. With this information in hand,Iwill now apply the Tucker

Act test to the case before me.

       C.       The Source of Plaintiffs' Rights

       The first prong of the Tucker Act test is whether the source of the rights upon which

plaintiffs base their claims is contractual. See Crowley, 38 F.4th at 1106. Here, the Court

looks to whether "the plaintiffs asserted rights and the government's purported authority

arise from statute," "whether the plaintiffs rights 'exist[] prior to and apart from rights

created under the contract,'" and whether the plaintiff 'seek[s] to enforce any duty imposed

upon' the government 'by the ... relevant contracts to which' the government 'is a

party[.]"' Id.- at 1107 (citations omitted ).

        Plaintiffs allege that defendants' conduct is ultra vires and violates the separation of

powers, the Take Care Clause, the APA, and the First Amendment. See Comp1.                      ,r,r 74-118
(CountsI-VI). The heart of these allegations is that defendants have failed to comply with

Congress's statutory mandates for IMLS. See, e.g., id. ilil 81, 86-87, 101-03, 106, 111-

12. However, the main mechanism through which defendants allegedly violated those

mandates is by suspending and terminating grants. As our Circuit's panel compellingly

reasoned in the U SA GM cases, plaintiffs' framing of their claims for relief under the APA

and the Constitution do not necessarily take this case out of the ambit of the Tucker Act.

See USAGM Panel Decision, 2025 U.S. App. LEXIS 11036, at *13-14; see also Martin v.


2025) (distinguishing the Supreme Court's decision because "Department ofEducation involved a different
posture in which plaintiffs challenged the government's 'purport[ed] terminat[ion] [ofJ grants midstream,'
and sought an order requiring the continued payment of grant moneys," while in the instant case the
"Plaintiffs' grants have not been terminated" (alterations in original)). This kaleidoscope of interpretations
further reveals that the contours of the Tucker Act are shifting.

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Donley, 886 F. Supp. 2d 1, 8 (D.D.C. 2012) ("Because plaintiffs may try to avoid Tucker

Act jurisdiction 'by converting complaints which 'at their essence' seek money damages

from the government into complaints requesting injunctive relief or declaratory actions,'

district courts must 'look to the complaint's substance, not merely its fonn."' (quoting

Kidwell v. Dep 't of the Army, 56 F.3d 279, 284 (D.C. Cir.1995))). As such, I will look to

the substance of plaintiffs' claims to determine the source of their rights.

         From the outset, the Complaint's Introduction focuses on defendants' efforts to

cancel IMLS grants:

         Defendants have already canceled statutorily required grants to several state
         libraries. It is only a matter of time before Defendants cancel en masse IMLS
         grants that fund activities at libraries across the country. Even if grants are
         not canceled, the severely reduced workforce will not be able to effectively
         and timely process grant payments and applications. Many IMLS grantees
         have already expended funds in reliance on grant awards and have submitted
         or will soon submit requests for reimbursement to IMLS for these
         expenditures. Without grant funding or IMLS staff to process
         reimbursements, local and state libraries will suffer an immediate and
         irreparable inability to pay vendors or staff hired in reliance on IMLS'
         promise to make these reimbursements.

Compl. at 2-3.

         This focus on grants is woven into each of the claims for relief. See, e.g., id.   ,r 82
(Count I) ("Defendants' actions to close IMLS" by "beginning to terminate grants en masse

. .. exceed[s] presidential and executive authority and usurp[s] legislative authority .... ");

id.   ,r 87 (Count II) ("President Trump's actions to dismantle IMLS violate the Take Care
Clause because they are directly contrary to the duly enacted statutes .. . appropriating

funds to IMLS and directing IMLS to use such funds to carry out its statutory duties to aid

libraries."); id.   ,r 94 (Count III) ("Defendants failed to account for the substantial reliance
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interests in the continued existence ofIMLS. Hundreds oflibraries around the country have

based their budgets and programs on the availability ofgrants issued by IMLS."); id. ,r 106

(Count IV) ("The MLSA imposes mandatory duties on the Director of IMLS to disburse

                         ,r
various grants."); id. 111 (Count V) ("No statute, constitutional provision, or other source

of law authorizes Defendants ...to suspend or cancel grants IMLS is statutorily required

to d•1sburse ...."). s

        Grant terminations are also the heart and soul ofplaintiffs' standing and irreparable

hann arguments. To establish standing, plaintiffs cite to numerous declarations from their

members explaining how grant terminations caused them injury. See Pls.' Reply at 2-5

(citing; e.g., Deel. of Rita Adams [Dkt.#13-8] ,r,r 6-8; Deel.of John Lewis Francis [Dkt.

#13-18] ,r,r 27-29; Deel. ofYonah Bromberg Gaber [Dkt. #13-19]                     ,r,r 24, 29-30; Deel. of
                                     ,r
Dana Newman [Dkt. #13-15] 9; Suppl. Deel. of Elizabeth Bradley [Dkt.#33-5] ,r,r 5-6;

Deel. of Alan S. Inouye [Dkt. #13-2] ,r,r 23-27; Suppl.Deel. of Alan Inouye [Dkt.#33-1]

,r,r 8-16). Similarly, plaintiffs' irreparable harm arguments are grounded in the impact of
grant terminations. See, e.g., Compl. ,r,r 61-62, 65-67, 69, 71-73. Crowley instructs the

Court to consider "whether the plaintiffs rights 'exist[] prior to and apart from rights

created under the contract[s].'" 38 F.4th at 1107. Here, plaintiffs' standing and irreparable




5
  Plaintiffs do point to other ways in which defendants are violating Congress's mandates for IMLS,
including defendants' failure to collect data and their mass termination of employees. See, e.g., Compl. ,r,r
82, 87, 93, 102, 111. This is one reason why the Court is not ruling that plaintiffs will be unable to show
this Court has jurisdiction, and instead only finds that plaintiffs are not, at this early stage, able to show a
substantial likelihood of success in establishing this Court's jurisdiction.

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injury largely do not exist prior to and apart from rights created under their grant

agreements. See id. 6

        Accordingly, I find that plaintiffs' claims for relief, standing arguments, and

irreparable harm allegations are all keyed to defendants' termination of grants. I further

find that these grants are essentially contracts with the Government. See USAGM Panel

Decision, 2025 U.S. App. LEXIS 11036, at *9-10 ("The [Tucker Act] rule applies to

claims for breach of grant agreements executed through binding government contracts.").

As with the grants in the USAGM cases, the IMLS grants are part of a Congressional

"contractual scheme for allocating funds to the grantees." See id. at *10-11. Congress

authorizes IMLS to enter -into "grants, contracts, cooperative agreements," and other

arrangements to further its objectives, see 20 U.S.C. §§ 9108(c), 9165, 9173, and mandates

that IMLS issue certain grants, see id. §§ 9131, 9161, 9162. IMLS then reaches grant

agreements with various entities, including plaintiffs and their members.                              This

arrangement, like the one at issue in the USAGM cases, creates contracts between the grant

recipients and the federal Government. See USAGM Panel Decision, 2025 U.S. App.


6
  This is true even with respect to AFSCME. To establish standing for AFSCME's members, plaintiffs
point to the declaration of Robert Lewis Francis, a member of AFSCME's local union representing 1,500
University of Minnesota Clerical Workers. See Pl.'s Reply at 3 (citing Francis Deel. ,r,r 27-29). Plaintiffs'
cited paragraphs of the Francis declaration are about the loss of grant funding:

        Based on ... the fact that Minitex management has been clear thatIMLS funding cuts will
        be made up through service and staffing reductions-I estimate that ten (10) of my Minitex
        colleagues will be laid off, including possibly myself.In no uncertain terms, without the
        IMLS funding, my job is on the line. Losing roughly ten Minitex Resource Sharing unit
        jobs, out of 30 existing positions, would be a major blow to our library system and, by
        extension, the library services Minnesotans depend on.... With the loss ofIMLS funding,
        we do not know if we will keep our jobs, let alone receive expected wage increases.

Francis Deel. ,r,r 27-29.

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LEXIS 11036, at *10-11. The core dispute between plaintiffs and defendants arose when

defendants terminated those contracts. See id. at *11. Therefore, it appears that plaintiffs'

claims may indeed be contract claims under the Tucker Act.

       D.     The Relief Sought

       I will now tum to the second prong of the Tucker Act test: the relief sought. See

Crowley, 38 F.4th at 1107. This inquiry "boils down to whether the plaintiff effectively

seeks to attain monetary damages in the suit." Id.

       Plaintiffs here seek broad injunctive relief. See Compl. at 28-29 (Prayer for Relief).

They ask the Court to issue an injunction "barring Defendants from taking any action to

dissolve IMLS absent the authorization of Congress" and instructing defendants to unwind

the actions they have already taken to shut down IMLS. See id. Still, the relief sought

repeatedly references reinstating grants. Plaintiffs want defendants "to return IMLS and

its ... grantees to their status prior to March 31, 2025"; to "[r]estore funding pursuant to

the terms of all grants, cooperative agreements, and contracts, consistent with the terms of

the agreements"; and to "[c]omply with Congressional statutes that require the IMLS

Director to carry out various programs and award various grants." Id.

       Here, I find compelling the Supreme Court's and the USAGM panel's reservations

about a district court ordering enforcement of a contractual obligation against the

Government. See Dep 't ofEduc. v. California, 145 S.Ct. at 968 ("[A]s we have recognized,

the APA's limited waiver of immunity does not extend to orders 'to enforce a contractual

obligation to pay money' along the lines of what the District Court did here."); USA GM

Panel Decision, 2025 U.S. App. LEXIS 11036, at *11 ("[T]he injunction in substance

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orders specific performance of the grant agreements-a quintessentially contractual

remedy. And it is the inherently contractual nature of the relief afforded ... that makes the

[Court of Federal Claims] the exclusive forum for this suit." (citations omitted)).

        Plaintiffs ask the Court to order defendants to "[r]estore funding pursuant to the

terms of all grants, cooperative agreements, and contracts, consistent with the terms of the

agreements." Compl. at 29. The practical effect of such relief would be to order specific

performance of these grant agreements; this, of course, is the "quintessential contract

remedy" which made the panel in the USAGM cases uncertain of the district court's

jurisdiction. See USAGM Panel Decision, 2025 U.S. App. LEXIS 11036, at *11-12; but

see Rhode Island v. Trump, 2025 U.S. Dist-LEXIS 86024, at *23 (D.R.I. May 6, 2025),

appeal filed, No. 25-1477 (1st Cir. May 20, 2025) (finding, in a similar challenge to the

dismantling of IMLS, that the Tucker Act did not apply to the plaintiffs' claims because

"[t]he States seek equitable relief to enjoin the Defendants' actions implementing the

[Executive Order]-not specific performance of any grant agreements"). Should the Court

mandate that IMLS reinstate all of its grants, the Court would be ordering IMLS to pay out

almost $2.5 million in grants to plaintiff ALA alone. See Compl. il 61; see also id. ,I 33

(stating that "IMLS currently has over 650 open awards under the grant programs it

administers to libraries, totaling over $450 million"). 7



7 The Supreme Court in Department ofEducation v. California noted that "a district court's jurisdiction 'is
not barred by the possibility' that an order setting aside an agency's action may result in the disbursement
of funds." 145 S.Ct. at 968 (quoting Bowen, 487 U.S. at 910). Here, there is more than a "possibility" that
injunctive relief would result in the disbursement of funds; it is the explicit relief sought by plaintiffs. See
Compl. at 29 (asking the Court to "[r]estore funding pursuant to the terms of all grants, cooperative
agreements, and contracts").

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       This is not the only relief plaintiffs seek, though! Plaintiffs also seek an injunction

reinstating all IMLS employees and otherwise mandating defendants comply with IMLS's

statutory obligations. See id. at 28-29. Here, the Court looks to whether this non-monetary

relief has "considerable value" independent of any potential monetary relief. See Crowley,

38 F.4th at 1107-08 (citing Kidwell, 56 F.3 d at 284). I find that this additional relief is

neither independent from nor considerable compared to the contractual relief sought.

       First, plaintiffs seek reinstatement of IMLS staff. Comp1. at 29. The value of this

relief is intertwined with the value of reinstating grants.           Plaintiffs allege that the

"significant reduction in staff will dramatically slow the processing of reimbursements due

to libraries for awards already granted . . . as well as processing of applications for

important grant award submissions by states and libraries." Id.      ,r 42; see also id. ,r 67 ("In
many cases, libraries have already spent approved funds and have or will seek

reimbursement by IMLS for those expenditures. Because there are no employees to process

these claims, the libraries will suffer direct and immediate financial harm."); id. ,r 71 ("[A]

foreseeable consequence of Defendants' actions to shutter IMLS is that AFSCME members

will lose their jobs as a result of Defendants' funding cuts. The union stands to be

financially harmed by the resultant loss of member dues." (emphasis added)). These

allegations suggest that the benefit of reinstating the staff is tied to the benefit of reinstating

the grants.

       Yet plaintiffs do allege some independent harm from the mass terminations: "IMLS

staff includes library professionals who advise librarians around the country on a daily

basis. These professionals are an invaluable resource that would be diminished or lost

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entirely in the event of staff reductions." Id.     ,r 50. The value of remedying this ham1,
though, is ancillary to the value of reinstating grants. If the Court were to reinstate the staff

but not the grants,how much would plaintiffs and their members benefit from IMLS being

fully staffed? There would be no grants for the staff to issue and manage, and-taking

plaintiffs' allegations as true-there would be substantially fewer programs and libraries

left for IMLS staff to advise.

       Second,plaintiffs ask the Court to order IMLS to continue its data collection. Here

again the harm is related to contract terminations: "Defendants have been terminating

contracts for work conducting research and collecting data from libraries across the

                    ,r
country." Compl. 48. Even though this allegation is light on specifics,it appears that to

order IMLS to continue collecting data,the Court would have to require IMLS to reinstate

its data collection contracts-a form of relief which raises Tucker Act questions.

Additionally, IMLS apparently collects this data from libraries as a condition of grant

funding. See Deel. of Jane Billinger lDkt. #13-l 7J     ,r 6 ("As a condition of IMLS funding,
IMLS requires that participant public libraries fill out a survey-the IMLS Public Libraries

Survey (PLS)-that includes data critical to effective bargaining .... "). Thus remedying

the data collection failures is at least partially derivative of remedying the grant

terminations.

       As with the mass layoffs,plaintiffs do point to some independent value of ordering

IMLS to continue collecting data. Without such an order,plaintiffs and their members will

lose access to "an irreplaceable longitudinal source of data about American public

                     ,r
libraries," Compl. 59, and plaintiff AFSCME uses IMLS data in collective bargaining

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